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From:               Kira Kelley
To:                 Enslin, Sharda
Cc:                 Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            Re: [EXTERNAL] Re: Settlement Proposal
Date:               Monday, December 2, 2024 4:07:38 PM
Attachments:        Notice of Deposition Ohama.pdf
                    Notice of Deposition Barnette.pdf
                    Notice of Deposition Frey.pdf
                    plaintiffs first discovery requests.pdf
                    Notice of Deposition Velazquez.pdf
                    Notice of Deposition Gomez.pdf
                    Notice of Deposition O"Hara.pdf
                    Notice of Deposition Haugland.pdf


Hi Sharda,

Ah, it appears that we have a misunderstanding. Happens to the best of us! We will
file a motion asking for the judge to extend the factual discovery deadline until
early January in light of the delayed responses, and we'll note your objection in our
meet and confer statement.

In the meantime, so that you have these as soon as possible while that issue gets
decided by the Court, please find the attached requests and notices.

Best,

Kira

____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




On Mon, Dec 2, 2024 at 7:44 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov> wrote:

  Hi Kira,



  Good news! Our designee has had a schedule change and is now available on December 10
  to sit for the 30(b)(6) deposition. So no need for an extension.



  I will say I was a bit confused about the “buffer” period you kept referencing. I originally
  assumed you wanted a buffer period to accommodate possible scheduling issues with the
  30(b)(6) deposition, but your last email suggested that perhaps you were you talking about
  creating a new discovery deadline for you to serve written discovery? As I’m sure you’re
  aware, the deadline to serve written discovery requests has passed and just to clarify, we’re
  not interested in stipulating to extending it.


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I do feel as though you and I have had several conversions generally about settlement, and
our relay to you has always been that it would be next to impossible for the City to enter into
any settlement that proposed specific actions/ordinance changes/land transfers/etc. given
that the same or similar issues are actively under engagement by the current administration.



At your earliest convenience, please send a depo notice for Dec. 10 with the time and
location so that I can update my witness.



Many thanks,

Sharda




From: Kira Kelley <kira@climatedefenseproject.org>
Sent: Friday, November 29, 2024 8:54 AM
To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
<Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
<Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
Subject: Re: [EXTERNAL] Re: Settlement Proposal



Hi Sharda,



Given that we're still waiting on a response from you regarding the settlement offer
set in September and had intended to give you all a good faith chance to settle
before serving interrogatories, RFAs, and other depo notices, and that this
deposition has taken more than two months to schedule, a one-month stipulated
extension (to Jan 15) seems appropriate and would give us some buffer in case the
City representative has a conflict that comes up. If the judge doesn't approve our
stipulation, we can always make adjustments from there.



Best,


Kira




                                                                                      Exhibit N
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Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




On Wed, Nov 27, 2024 at 1:49 PM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

   Why don’t we stipulate to extending the discovery completion period to Dec. 22? That
   gives us an additional week from the current deadline and should be plenty of time if we
   can schedule the depo for the 17th or 18th. Leung won’t be inclined to extend the
   discovery period without good cause, so I can write up a joint stip with an explanation that
   the need for the extension is based on the deponent’s limited availability. Let me know if
   that works. Thanks!




   From: Kira Kelley <kira@climatedefenseproject.org>
   Sent: Wednesday, November 27, 2024 11:09 AM
   To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
   Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
   <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
   <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
   Subject: Re: [EXTERNAL] Re: Settlement Proposal



   Hi Sharda,



   Would you be willing to stipulate to an extension of the December 15th fact deadline by a
   few weeks just to give us all a buffer? We could schedule the evidentiary depo on the 17th
   or 18th if so.



   Best,




                                                                                      Exhibit N
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Kira



On Wed, Nov 27, 2024, 6:33 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

  Hi Kira – turns out that while I’m available the week of Dec. 9, our deponent is not.
  However, both he and I are available on Dec. 17th or 18th. Would either of those dates
  work for you? Technically this falls a couple days outside of our discovery period, but
  given that the parties have been planning on conducting this deposition for a while now,
   if we’re both in agreement and it’s the only date that works for the witness, I think it’s
  fine.




  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Tuesday, November 26, 2024 10:21 AM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>
  Cc: Karmen McQuitty <karmen@peopleslawmn.com>; Robertson, Heather
  (she/her/hers) <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
  <Kristin.Sarff@minneapolismn.gov>; Claire Glenn
  <claire@climatedefenseproject.org>
  Subject: Re: [EXTERNAL] Re: Settlement Proposal



  Hi Sharda,



  I sent it to you on September 13, with the changes we'd discussed in our
  phone call. Let me know if you can't find that thread and I will bump it in
  your inbox! I'll re-attach the updated list here as well for your convenience.



  The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did
  you have any specific days/times in mind?



  Best,



  Kira



  ____________________



                                                                                    Exhibit N
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 Kira Kelley (they/she)
 Staff Attorney
 Climate Defense Project
 climatedefenseproject.org




 On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda
 <sharda.enslin@minneapolismn.gov> wrote:

    Hi Kira, did you ever send me an updated list of topics? What is your availability the
    week of December 9th?




    From: Kira Kelley <kira@climatedefenseproject.org>
    Sent: Thursday, November 21, 2024 5:18 PM
    To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
    <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
    <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
    <Kristin.Sarff@minneapolismn.gov>; Claire Glenn
    <claire@climatedefenseproject.org>
    Subject: [EXTERNAL] Re: Settlement Proposal



    Hi Sharda,



    Just wanted to follow up on this, and to check in on when the City would be
    available for a deposition.


    Hope you are well!



    Kira



    ____________________
    Kira Kelley (they/she)
    Staff Attorney
    Climate Defense Project
    climatedefenseproject.org




                                                                                 Exhibit N
